USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 1 of 16


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 LAFAYETTE DIVISION

JAMES RUCKER                                   )
                                               )
                        Plaintiff,             )
                                               )
                        v.                     )    Cause No.: 4:21-cv-00013
                                               )
CITY OF DELPHI, INDIANA,                       )
CARROLL COUNTY, INDIANA,                       )           JURY TRIAL REQUESTED
FORMER DELPHI POLICE CHIEF                     )
STEVE MULLIN, in his individual                )
capacity, DELPHI POLICE CHIEF                  )
BROOK MCCAIN, in his official capacity, )
CARROLL COUNTY SHERIFF                         )
TOBE LEAZENBY, in his official and             )
individual capacities, OFFICER COLIN           )
DECKARD, in his official and individual )
capacities, OFFICER ALEX PARKINSON, )
in his official and individual capacities, and )
DEPUTY DREW YODER, in his official )
and individual capacities.                     )
                                               )
                        Defendants.            )

                               SUMMONS IN A CIVIL ACTION

To:    City of Delphi
       c/o City Attorney
       201 South Union Street
       Delphi, Indiana 46923

       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received
it) you must serve on the plaintiffs an answer to the attached complaint or a motion under Rule
12 of the Federal Rules of Civil Procedure.
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 2 of 16


       The answer or motion must be served on the plaintiffs’ attorneys, whose name and
address are:

       Bradley A. Keffer, Esq.
       Austin R. Andreas, Esq.
       KEFFER HIRSCHAUER LLP
       230 East Ohio Street, Suite 400
       Indianapolis, Indiana 46204

      If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

Date: _____________________           Signature of Clerk or Deputy Clerk: __________________
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 3 of 16


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 LAFAYETTE DIVISION

JAMES RUCKER                                   )
                                               )
                        Plaintiff,             )
                                               )
                        v.                     )    Cause No.: 4:21-cv-00013
                                               )
CITY OF DELPHI, INDIANA,                       )
CARROLL COUNTY, INDIANA,                       )           JURY TRIAL REQUESTED
FORMER DELPHI POLICE CHIEF                     )
STEVE MULLIN, in his individual                )
capacity, DELPHI POLICE CHIEF                  )
BROOK MCCAIN, in his official capacity, )
CARROLL COUNTY SHERIFF                         )
TOBE LEAZENBY, in his official and             )
individual capacities, OFFICER COLIN           )
DECKARD, in his official and individual )
capacities, OFFICER ALEX PARKINSON, )
in his official and individual capacities, and )
DEPUTY DREW YODER, in his official )
and individual capacities.                     )
                                               )
                        Defendants.            )

                               SUMMONS IN A CIVIL ACTION

To:    City of Delphi
       c/o Mayor Anita Werling
       201 South Union Street
       Delphi, Indiana 46923

       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received
it) you must serve on the plaintiffs an answer to the attached complaint or a motion under Rule
12 of the Federal Rules of Civil Procedure.
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 4 of 16


       The answer or motion must be served on the plaintiffs’ attorneys, whose name and
address are:

       Bradley A. Keffer, Esq.
       Austin R. Andreas, Esq.
       KEFFER HIRSCHAUER LLP
       230 East Ohio Street, Suite 400
       Indianapolis, Indiana 46204

      If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

Date: _____________________           Signature of Clerk or Deputy Clerk: __________________
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 5 of 16


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 LAFAYETTE DIVISION

JAMES RUCKER                                   )
                                               )
                        Plaintiff,             )
                                               )
                        v.                     )    Cause No.: 4:21-cv-00013
                                               )
CITY OF DELPHI, INDIANA,                       )
CARROLL COUNTY, INDIANA,                       )           JURY TRIAL REQUESTED
FORMER DELPHI POLICE CHIEF                     )
STEVE MULLIN, in his individual                )
capacity, DELPHI POLICE CHIEF                  )
BROOK MCCAIN, in his official capacity, )
CARROLL COUNTY SHERIFF                         )
TOBE LEAZENBY, in his official and             )
individual capacities, OFFICER COLIN           )
DECKARD, in his official and individual )
capacities, OFFICER ALEX PARKINSON, )
in his official and individual capacities, and )
DEPUTY DREW YODER, in his official )
and individual capacities.                     )
                                               )
                        Defendants.            )

                               SUMMONS IN A CIVIL ACTION

To:    Delphi Police Department
       c/o Chief of Police Brook McCain
       201 South Union Street
       Delphi, Indiana 46923

       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received
it) you must serve on the plaintiffs an answer to the attached complaint or a motion under Rule
12 of the Federal Rules of Civil Procedure.
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 6 of 16


       The answer or motion must be served on the plaintiffs’ attorneys, whose name and
address are:

       Bradley A. Keffer, Esq.
       Austin R. Andreas, Esq.
       KEFFER HIRSCHAUER LLP
       230 East Ohio Street, Suite 400
       Indianapolis, Indiana 46204

      If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

Date: _____________________           Signature of Clerk or Deputy Clerk: __________________
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 7 of 16


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 LAFAYETTE DIVISION

JAMES RUCKER                                   )
                                               )
                        Plaintiff,             )
                                               )
                        v.                     )    Cause No.: 4:21-cv-00013
                                               )
CITY OF DELPHI, INDIANA,                       )
CARROLL COUNTY, INDIANA,                       )           JURY TRIAL REQUESTED
FORMER DELPHI POLICE CHIEF                     )
STEVE MULLIN, in his individual                )
capacity, DELPHI POLICE CHIEF                  )
BROOK MCCAIN, in his official capacity, )
CARROLL COUNTY SHERIFF                         )
TOBE LEAZENBY, in his official and             )
individual capacities, OFFICER COLIN           )
DECKARD, in his official and individual )
capacities, OFFICER ALEX PARKINSON, )
in his official and individual capacities, and )
DEPUTY DREW YODER, in his official )
and individual capacities.                     )
                                               )
                        Defendants.            )

                               SUMMONS IN A CIVIL ACTION

To:    Officer Colin Deckard
       Delphi Police Department
       201 South Union Street
       Delphi, Indiana 46923

       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received
it) you must serve on the plaintiffs an answer to the attached complaint or a motion under Rule
12 of the Federal Rules of Civil Procedure.
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 8 of 16


       The answer or motion must be served on the plaintiffs’ attorneys, whose name and
address are:

       Bradley A. Keffer, Esq.
       Austin R. Andreas, Esq.
       KEFFER HIRSCHAUER LLP
       230 East Ohio Street, Suite 400
       Indianapolis, Indiana 46204

      If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

Date: _____________________           Signature of Clerk or Deputy Clerk: __________________
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 9 of 16


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 LAFAYETTE DIVISION

JAMES RUCKER                                   )
                                               )
                        Plaintiff,             )
                                               )
                        v.                     )    Cause No.: 4:21-cv-00013
                                               )
CITY OF DELPHI, INDIANA,                       )
CARROLL COUNTY, INDIANA,                       )           JURY TRIAL REQUESTED
FORMER DELPHI POLICE CHIEF                     )
STEVE MULLIN, in his individual                )
capacity, DELPHI POLICE CHIEF                  )
BROOK MCCAIN, in his official capacity, )
CARROLL COUNTY SHERIFF                         )
TOBE LEAZENBY, in his official and             )
individual capacities, OFFICER COLIN           )
DECKARD, in his official and individual )
capacities, OFFICER ALEX PARKINSON, )
in his official and individual capacities, and )
DEPUTY DREW YODER, in his official )
and individual capacities.                     )
                                               )
                        Defendants.            )

                               SUMMONS IN A CIVIL ACTION

To:    Officer Alex Parkinson
       Delphi Police Department
       201 South Union Street
       Delphi, Indiana 46923

       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received
it) you must serve on the plaintiffs an answer to the attached complaint or a motion under Rule
12 of the Federal Rules of Civil Procedure.
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 10 of 16


        The answer or motion must be served on the plaintiffs’ attorneys, whose name and
 address are:

        Bradley A. Keffer, Esq.
        Austin R. Andreas, Esq.
        KEFFER HIRSCHAUER LLP
        230 East Ohio Street, Suite 400
        Indianapolis, Indiana 46204

       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.

 Date: _____________________           Signature of Clerk or Deputy Clerk: __________________
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 11 of 16


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  LAFAYETTE DIVISION

 JAMES RUCKER                                   )
                                                )
                         Plaintiff,             )
                                                )
                         v.                     )    Cause No.: 4:21-cv-00013
                                                )
 CITY OF DELPHI, INDIANA,                       )
 CARROLL COUNTY, INDIANA,                       )           JURY TRIAL REQUESTED
 FORMER DELPHI POLICE CHIEF                     )
 STEVE MULLIN, in his individual                )
 capacity, DELPHI POLICE CHIEF                  )
 BROOK MCCAIN, in his official capacity, )
 CARROLL COUNTY SHERIFF                         )
 TOBE LEAZENBY, in his official and             )
 individual capacities, OFFICER COLIN           )
 DECKARD, in his official and individual )
 capacities, OFFICER ALEX PARKINSON, )
 in his official and individual capacities, and )
 DEPUTY DREW YODER, in his official )
 and individual capacities.                     )
                                                )
                         Defendants.            )

                                SUMMONS IN A CIVIL ACTION

 To:    Steve Mullin
        Carroll County Prosecutor’s Office
        101 West Main Street, Suite 205
        Delphi, Indiana 46923

        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received
 it) you must serve on the plaintiffs an answer to the attached complaint or a motion under Rule
 12 of the Federal Rules of Civil Procedure.
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 12 of 16


        The answer or motion must be served on the plaintiffs’ attorneys, whose name and
 address are:

        Bradley A. Keffer, Esq.
        Austin R. Andreas, Esq.
        KEFFER HIRSCHAUER LLP
        230 East Ohio Street, Suite 400
        Indianapolis, Indiana 46204

       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.

 Date: _____________________           Signature of Clerk or Deputy Clerk: __________________
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 13 of 16


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  LAFAYETTE DIVISION

 JAMES RUCKER                                   )
                                                )
                         Plaintiff,             )
                                                )
                         v.                     )    Cause No.: 4:21-cv-00013
                                                )
 CITY OF DELPHI, INDIANA,                       )
 CARROLL COUNTY, INDIANA,                       )           JURY TRIAL REQUESTED
 FORMER DELPHI POLICE CHIEF                     )
 STEVE MULLIN, in his individual                )
 capacity, DELPHI POLICE CHIEF                  )
 BROOK MCCAIN, in his official capacity, )
 CARROLL COUNTY SHERIFF                         )
 TOBE LEAZENBY, in his official and             )
 individual capacities, OFFICER COLIN           )
 DECKARD, in his official and individual )
 capacities, OFFICER ALEX PARKINSON, )
 in his official and individual capacities, and )
 DEPUTY DREW YODER, in his official )
 and individual capacities.                     )
                                                )
                         Defendants.            )

                                SUMMONS IN A CIVIL ACTION

 To:    Carroll County Sheriff’s Office
        c/o Sheriff Tobe Leazenby
        310 West Main Street
        Delphi, Indiana 46923

        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received
 it) you must serve on the plaintiffs an answer to the attached complaint or a motion under Rule
 12 of the Federal Rules of Civil Procedure.
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 14 of 16


        The answer or motion must be served on the plaintiffs’ attorneys, whose name and
 address are:

        Bradley A. Keffer, Esq.
        Austin R. Andreas, Esq.
        KEFFER HIRSCHAUER LLP
        230 East Ohio Street, Suite 400
        Indianapolis, Indiana 46204

       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.

 Date: _____________________           Signature of Clerk or Deputy Clerk: __________________
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 15 of 16


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  LAFAYETTE DIVISION

 JAMES RUCKER                                   )
                                                )
                         Plaintiff,             )
                                                )
                         v.                     )    Cause No.: 4:21-cv-00013
                                                )
 CITY OF DELPHI, INDIANA,                       )
 CARROLL COUNTY, INDIANA,                       )           JURY TRIAL REQUESTED
 FORMER DELPHI POLICE CHIEF                     )
 STEVE MULLIN, in his individual                )
 capacity, DELPHI POLICE CHIEF                  )
 BROOK MCCAIN, in his official capacity, )
 CARROLL COUNTY SHERIFF                         )
 TOBE LEAZENBY, in his official and             )
 individual capacities, OFFICER COLIN           )
 DECKARD, in his official and individual )
 capacities, OFFICER ALEX PARKINSON, )
 in his official and individual capacities, and )
 DEPUTY DREW YODER, in his official )
 and individual capacities.                     )
                                                )
                         Defendants.            )

                                SUMMONS IN A CIVIL ACTION

 To:    Carroll County, Indiana
        c/o Commissioner William Brown, Chairman
        PO Box 291
        Cutler, Indiana 46920

        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received
 it) you must serve on the plaintiffs an answer to the attached complaint or a motion under Rule
 12 of the Federal Rules of Civil Procedure.
USDC IN/ND case 4:21-cv-00013-JTM-JEM document 1-2 filed 02/08/21 page 16 of 16


        The answer or motion must be served on the plaintiffs’ attorneys, whose name and
 address are:

        Bradley A. Keffer, Esq.
        Austin R. Andreas, Esq.
        KEFFER HIRSCHAUER LLP
        230 East Ohio Street, Suite 400
        Indianapolis, Indiana 46204

       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.

 Date: _____________________           Signature of Clerk or Deputy Clerk: __________________
